                          Case 1:16-cr-00436-KMW Document 194 Filed 03/20/18 Page 1 of 1
                                                                          U.S. Department of Justice

                                                                          United States Attorney
                                                                          Southern District of Ne

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                                                                          March 19, 2018                DOC#:
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               BY ECF and BY E-MAIL                                                                     DATE FILED:     3 /-=i. o / 1~
               The Honorable Kimba M. Wood
               United States District Judge
               Southern District of New York
               500 Pearl Street                                                                            MEMO ENDORSED
               New York, New York 10007

                           Re:        United States v. Gerald Seppala, 16 Cr. 436 (KMW)

               Dear Judge Wood:

                       The defendant in the above-captioned action is scheduled to be sentenced before Your
               Honor on April 18, 2018. As the Court is aware, trial in the matter of Mr. Seppala's co-defendant,
               United States v. Steven Brown, 16 Cr. 436 (KMW), is scheduled to begin before on April 16, 2018
               and to continue for several weeks. In light of this conflict, the Government respectfully requests
               that the sentencing of Mr. Seppala be adjourned until after the completion of the trial in United
               States v. Brown. The Government has conferred with counsel for Mr. Seppala, who do not object
               to the adjournment. The parties respectfully request that the sentencing be rescheduled to a date
               in the last week of June 2018.

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~~ ~A~ $ Lt..b ~\~ ~,~.... \ s J...u.,,(                               United States Attorney
                                                                       Southern District of New York
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                                                                       K~
                                                                       Noah Solowiejczyk
                                                                       Ryan Finkel
                                                                       Assistant United States Attorneys
                                                                       (212) 637-6521/2473/6612


               cc:         Annalisa Miron, Esq. and Ian Marcus Amelkin, Esq. (by ECF and by,e-mail)
                                                                                                           3-W-12'
                                                                                SO ORDERED:                N.Y., N.Y.



                                                                                        KIMBA M. WOOD
                                                                                                U.S.D.J.
